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 1
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 6   ATTORNEY FOR Defendant, SHANNE LEAVELL

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 9
                           IN THE UNITED STATES DISTRICT COURT
10
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
11
                                                ******
12

13   UNITED STATES OF AMERICA,                       Case No.: 1:15-CR-00234 AWI BAM
14                         Plaintiff,
15                                                   STIPULATION TO MODIFY CONDITIONS
            v.                                       OF RELEASE; ORDER.
16
     SHANNE LEAVELL,
17
                           Defendant.
18

19

20          Defendant SHANNE LEAVELL, by and through his counsel of record, ROGER D.

21   WILSON, and Plaintiff United States of America, by and through its counsel of record

22   BENJAMIN B. WAGNER, United States Attorney and MICHAEL G. TIERNEY, Assistant

23   U.S. Attorney, hereby stipulates to the following modification of conditions of release:

24          1.      By previous order, on February 6, 2017, MR. LEAVELL was ordered released

25   to the Teen Challenge Program, a one-year in-patient drug rehabilitation program maintained

26   by Teen Challenge, located at 42675 Road 44, Reedley, California 93654, under the strict

27   conditions imposed by the United States Pretrial Services Office.

28          2.      The Teen Challenge Program located in Reedley has still not found space to


                                                    1
                               STIPULATION TO MODIFY CONDITIONS OF RELEASE.
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 1   accommodate MR. LEAVELL.

 2            3.      The Teen Challenge facility, located at 650 Riverside Street, Shafter, California,

 3   93263, has immediate space for MR. LEAVELL, and he could be transferred from his current

 4   detention facility to this location directly upon the Honorable Judge’s order.

 5            4.      Therefore it is stipulated that MR. LEAVELL be released immediately to a

 6   representative of the Teen Challenge facility, located at 650 Riverside Street, Shafter,

 7   California, 9326.

 8            4.      All other terms and conditions of release remain in full force and effect.

 9            5.      Pretrial Services officer has been advised and approves this modification.

10

11            IT IS SO STIPULATED.

12   DATED:           02/17/2017                                     /s/ Michael J. Tierney
                                                                     MICHAEL J. TIERNEY
13                                                                   Assistant United States Attorney
14
     DATED:           02/17/2017                                     /s/ Roger D. Wilson
15                                                                   ROGER D. WILSON
                                                                     Attorney for Shanne Leavell
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18                                                 ORDER
19            The parties’ Stipulation Modifying Conditions of Release is hereby approved and the
20   modification set forth in paragraph Four (4) of the Stipulation is adopted as a finding by the
21   Court.
22

23   IT IS SO ORDERED.
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     Dated:        February 17, 2017                                 /s/   Sheila K. Oberto             .
                                                          UNITED STATES MAGISTRATE JUDGE
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                                   STIPULATION TO MODIFY CONDITIONS OF RELEASE.
